        Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 1 of 21




RASIER, LLC / RASIER-CA, LLC / RASIER-PA, LLC / RASIER-DC, LLC / RASIER-MT, LLC / HINTER-NM /
RASIER-NY, LLC
TECHNOLOGY SERVICES AGREEMENT
Last update: June 17, 2017


This Technology Services Agreement (“Agreement”) constitutes a legal agreement between you, an
individual (“you”) and Rasier-CA, LLC if your Territory (as defined below) is within the State of California,
Rasier-PA, LLC if your Territory is within the State of Pennsylvania, Rasier-DC, LLC if your Territory is
within the State of Florida, Rasier-MT, LLC if your Territory is within the State of Montana, Hinter-NM if
your Territory is within the State of New Mexico, Rasier-NY, LLC if your Territory is within the State of
New York, or Rasier, LLC if your Territory is anywhere else within the United States (as applicable,
“Company”).
Company, a subsidiary of Uber Technologies, Inc. (“Uber”), provides lead generation to independent
providers of rideshare or peer-to-peer (collectively, “P2P”) passenger transportation services using the
Uber Services (as defined below). The Uber Services enable an authorized transportation provider to
seek, receive and fulfill requests for transportation services from an authorized user of Uber’s mobile
applications. You desire to enter into this Agreement for the purpose of accessing and using the Uber
Services.
You acknowledge and agree that Company is a technology services provider that does not provide
transportation services.
In order to use the Uber Services, you must agree to the terms and conditions that are set forth below.
Upon your execution (electronic or otherwise) of this Agreement, you and Company shall be bound by
the terms and conditions set forth herein.


IMPORTANT: PLEASE NOTE THAT TO USE THE UBER SERVICES, YOU MUST AGREE
TO THE TERMS AND CONDITIONS SET FORTH BELOW. PLEASE REVIEW THE
ARBITRATION PROVISION SET FORTH BELOW CAREFULLY, AS IT WILL REQUIRE
YOU TO RESOLVE DISPUTES WITH THE COMPANY ON AN INDIVIDUAL BASIS,
EXCEPT AS PROVIDED IN SECTION 15.3, THROUGH FINAL AND BINDING
ARBITRATION UNLESS YOU CHOOSE TO OPT OUT OF THE ARBITRATION
PROVISION. BY VIRTUE OF YOUR ELECTRONIC EXECUTION OF THIS AGREEMENT,
YOU WILL BE ACKNOWLEDGING THAT YOU HAVE READ AND UNDERSTOOD ALL
OF THE TERMS OF THIS AGREEMENT (INCLUDING THE ARBITRATION PROVISION)
AND HAVE TAKEN TIME TO CONSIDER THE CONSEQUENCES OF THIS IMPORTANT
BUSINESS DECISION. IF YOU DO NOT WISH TO BE SUBJECT TO ARBITRATION,
YOU MAY OPT OUT OF THE ARBITRATION PROVISION BY FOLLOWING THE
INSTRUCTIONS PROVIDED IN THE ARBITRATION PROVISION BELOW.
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 2 of 21




1. Definitions
1.1    “Affiliate” means an entity that, directly or indirectly, controls, is under the control of, or is
       under common control with a party, where control means having more than fifty percent (50%)
       of the voting stock or other ownership interest or the majority of the voting rights of such entity.
1.2    “City Addendum” means an addendum or supplemental information to this Agreement setting
       forth additional Territory-specific terms, as made available and as updated by Company from
       time to time.
1.3    “Company Data” means all data related to the access and use of the Uber Services hereunder,
       including all data related to Users (including User Information), all data related to the provision
       of Transportation Services via the Uber Services and the Driver App, and the Driver ID.
1.4    “Company Device” means a mobile device owned or controlled by Company that is provided to
       you solely for your use of the Driver App to provide Transportation Services.
1.5    “Device” means a Company Device or Your Device, as the case may be.
1.6    “Driver App” means the mobile application provided by Company that enables transportation
       providers to access the Uber Services for the purpose of seeking, receiving and fulfilling on-
       demand requests for transportation services by Users, as may be updated or modified from time
       to time.
1.7    “Driver ID” means the identification and password key assigned by Company to you that enables
       you to use and access the Driver App.
1.8    “Fare” has the meaning set forth in Section 4.1.
1.9    “Service Fee” has the meaning set forth in Section 4.4.
1.10   “Territory” means the city or metro areas in the United States in which you are enabled by the
       Driver App to receive requests for Transportation Services.
1.11   “Tolls” means any applicable road, bridge, ferry, tunnel and airport charges and fees, including
       inner-city congestion, environmental or similar charges as reasonably determined by the Uber
       Services based on available information.
1.12   “Transportation Services” means your provision of P2P passenger transportation services to
       Users via the Uber Services in the Territory using the Vehicle.
1.13   “Uber Services” mean Uber’s on-demand lead generation and related services licensed by Uber
       to Company that enable transportation providers to seek, receive and fulfill on-demand
       requests for transportation services by Users seeking transportation services; such Uber Services
       include access to the Driver App and Uber’s software, websites, payment services as described
       in Section 4 below, and related support services systems, as may be updated or modified from
       time to time.
1.14   “User” means an end user authorized by Uber to use the Uber mobile application for the
       purpose of obtaining Transportation Services offered by Company’s transportation provider
       customers.
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 3 of 21




1.15   “User Information” means information about a User made available to you in connection with
       such User’s request for and use of Transportation Services, which may include the User’s name,
       pick-up location, contact information and photo.
1.16   “Vehicle” means your vehicle that: (a) meets the then-current Company requirements for a
       vehicle on the Uber Services; and (b) Company authorizes for your use for the purpose of
       providing Transportation Services.
1.17   “Your Device” means a mobile device owned or controlled by you: (a) that meets the then-
       current Company specifications for mobile devices as set forth at www.uber.com/byod-devices;
       and (b) on which the Driver App has been installed as authorized by Company solely for the
       purpose of providing Transportation Services.
2. Use of the Uber Services
2.1    Driver IDs. Uber will issue you a Driver ID to enable you to access and use the Driver App on a
       Device in accordance with this Agreement. Company reserves the right to deactivate your Driver
       ID if you have not fulfilled a request for Transportation Services using the Driver App at least
       once a month. You agree that you will maintain your Driver ID in confidence and not share
       your Driver ID with any third party. You will immediately notify Company of any actual or
       suspected breach or improper use or disclosure of your Driver ID or the Driver App.
2.2    Provision of Transportation Services. When the Driver App is active, User requests for
       Transportation Services may appear to you via the Driver App if you are available and in the
       vicinity of the User. If you accept a User’s request for Transportation Services, the Uber Services
       will provide you with certain User Information via the Driver App, including the User’s first name
       and pickup location. In order to enhance User satisfaction with the Uber mobile application and
       your Transportation Services, it is recommended that you wait at least ten (10) minutes for a
       User to show up at the requested pick-up location. You will obtain the destination from the
       User, either in person upon pickup or from the Driver App if the User elects to enter such
       destination via Uber’s mobile application. You acknowledge and agree that once you have
       accepted a User’s request for Transportation Services, Uber’s mobile application may provide
       certain information about you to the User, including your first name, contact information, photo
       and location, and your Vehicle’s make and license plate number. You shall not contact any Users
       or use any User’s personal data for any reason other than for the purposes of fulfilling
       Transportation Services. As between Company and you, you acknowledge and agree that: (a)
       you shall be solely responsible for determining the most effective, efficient and safe manner to
       perform each instance of Transportation Services; and (b) except for the Uber Services or any
       Company Devices (if applicable), you shall provide all necessary equipment, tools and other
       materials, at your own expense, necessary to perform Transportation Services. You understand
       and agree that you have a legal obligation under the Americans with Disabilities Act and similar
       state laws to transport Users with Service Animals (as defined by applicable state and federal
       law), including guide dogs for the blind and visually impaired Users, and there is no exception to
       this obligation for allergies or religious objections. Your knowing failure to transport a User with
       a Service Animal shall constitute a material breach of this Agreement. You agree that a “knowing
       failure” to comply with this legal obligation shall constitute either: (1) a denial of a ride where
       you state the denial was due to a Service Animal; or (2) there is more than one (1) instance in
       which a User or the companion of a User alleges that you cancelled or refused a ride on the
       basis of a Service Animal.
      Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 4 of 21




2.3   Your Relationship with Users. You acknowledge and agree that your provision of Transportation
      Services to Users creates a direct business relationship between you and the User. Company is
      not responsible or liable for the actions or inactions of a User in relation to you, your activities or
      your Vehicle. You shall have the sole responsibility for any obligations or liabilities to Users or
      third parties that arise from your provision of Transportation Services. You acknowledge and
      agree that you are solely responsible for taking such precautions as may be reasonable and
      proper (including maintaining adequate insurance that meets the requirements of all applicable
      laws including motor vehicle financial responsibility laws) regarding any acts or omissions of a
      User or third party. You acknowledge and agree that Company may release your contact and/or
      insurance information to a User upon such User’s reasonable request. You acknowledge and
      agree that, unless specifically consented to by a User, you may not transport or allow inside your
      Vehicle individuals other than a User and any individuals authorized by such User, during the
      performance of Transportation Services for such User. You acknowledge and agree that all Users
      should be transported directly to their specified destination, as directed by the applicable User,
      without unauthorized interruption or unauthorized stops.
2.4   Your Relationship with Company. You acknowledge and agree that Company’s provision to you
      of the Driver App and the Uber Services creates a direct business relationship between Company
      and you. Company does not, and shall not be deemed to, direct or control you generally or in
      your performance under this Agreement specifically, including in connection with your provision
      of Transportation Services, your acts or omissions, or your operation and maintenance of your
      Vehicle. You retain the sole right to determine when, where, and for how long you will utilize
      the Driver App or the Uber Services. You retain the option, via the Driver App, to attempt to
      accept or to decline or ignore a User’s request for Transportation Services via the Uber Services,
      or to cancel an accepted request for Transportation Services via the Driver App, subject to
      Company’s then-current cancellation policies. With the exception of any signage required by
      local law or permit/license requirements, Company shall have no right to require you to: (a)
      display Company’s or any of its Affiliates’ names, logos or colors on your Vehicle(s); or (b) wear a
      uniform or any other clothing displaying Company’s or any of its Affiliates’ names, logos or
      colors. You acknowledge and agree that you have complete discretion to provide services or
      otherwise engage in other business or employment activities. For the sake of clarity, you
      understand that you retain the complete right to; (i) use other software application services in
      addition to the Uber Services; and (ii) engage in any other occupation or business. Company
      retains the right to deactivate or otherwise restrict you from accessing or using the Driver App
      or the Uber Services in the event of a violation or alleged violation of this Agreement, your
      disparagement of Company or any of its Affiliates, your act or omission that causes harm to
      Company’s or its Affiliates’ brand, reputation or business as determined by Company in its sole
      discretion.
2.5   Ratings.
      2.5.1   You acknowledge and agree that: (a) after receiving Transportation Services, a User will
              be prompted by Uber’s mobile application to provide a rating of you and such
              Transportation Services and, optionally, to provide comments or feedback about you
              and such Transportation Services; and (b) after providing Transportation Services, you
              will be prompted by the Driver App to provide a rating of the User and, optionally, to
              provide comments or feedback about the User. You shall provide your ratings and
              feedback in good faith.
      Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 5 of 21




      2.5.2   You acknowledge that Company desires that Users have access to high-quality services
              via Uber’s mobile application. In order to continue to receive access to the Driver App
              and the Uber Services, you must maintain an average rating by Users that exceeds the
              minimum average acceptable rating established by Company for your Territory, as may
              be updated from time to time by Company in its sole discretion (“Minimum Average
              Rating”). Your average rating is intended to reflect Users’ satisfaction with your
              Transportation Services rather than your compliance with any of Company’s policies or
              recommendations. In the event your average rating falls below the Minimum Average
              Rating, Company will notify you and may provide you, in Company’s discretion, a limited
              period of time to raise your average rating above the Minimum Average Rating. If you
              do not increase your average rating above the Minimum Average Rating within the time
              period allowed (if any), Company reserves the right to deactivate your access to the
              Driver App and the Uber Services. Additionally, you acknowledge that your repeated
              failure to accept User requests for Transportation Services while you are logged in to the
              Driver App creates a negative experience for Users of Uber’s mobile application. If you
              do not wish to accept User requests for Transportation Services for a period of time, you
              agree that you will log off of the Driver App.
      2.5.3   Company and its Affiliates reserve the right to use, share and display your and User
              ratings and comments in any manner in connection with the business of Company and
              its Affiliates without attribution to you or your approval. You acknowledge and agree
              that Company and its Affiliates are distributors (without any obligation to verify) and not
              publishers of your and User ratings and comments, provided that Company and its
              Affiliates reserve the right to edit or remove comments in the event that such
              comments include obscenities or other objectionable content, include an individual’s
              name or other personal information, or violate any privacy laws, other applicable laws
              or Company’s or its Affiliates’ content policies.
2.6   Devices.
      2.6.1   Company encourages you to use Your Device in providing Transportation Services.
              Otherwise, if you elect to use any Company Devices, Company will supply you upon
              request with Company Devices and provide the necessary wireless data plan for such
              Devices, provided that Company will require reimbursement from you for the costs
              associated with the wireless data plan of each Company Device and/or request a deposit
              for each Company Device. You agree that: (a) Company Devices may only be used for
              the purpose of enabling your access to the Uber Services; and (b) Company Devices may
              not be transferred, loaned, sold or otherwise provided in any manner to any party other
              than you. Company Devices shall at all times remain the property of Company, and upon
              termination of this Agreement or your termination or deactivation, you agree to return
              to Company the applicable Company Devices within ten (10) days. You agree that failure
              to timely return any Company Devices, or damage to Company Devices outside of
              “normal wear and tear,” will result in the forfeiture of related deposits.
      2.6.2   If you elect to use Your Devices: (i) you are responsible for the acquisition, cost and
              maintenance of Your Devices as well as any necessary wireless data plan; and (ii)
              Company shall make available the Driver App for installation on Your Device. Company
              hereby grants you a personal, non-exclusive, non-transferable license to install and use
              the Driver App on Your Device solely for the purpose of providing Transportation
              Services. You agree to not provide, distribute or share, or enable the provision,
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 6 of 21




               distribution or sharing of, the Driver App (or any data associated therewith) with any
               third party. The foregoing license grant shall immediately terminate and you will delete
               and fully remove the Driver App from the Driver-Provided Device in the event that you
               cease to provide Transportation Services using Your Device. You agree that: (i) use of
               the Driver App on Your Device requires an active data plan with a wireless carrier
               associated with Your Device, which data plan will be provided by you at your own
               expense; and (ii) use of the Driver App on Your Device as an interface with the Uber
               Services may consume very large amounts of data through the data plan. COMPANY
               ADVISES THAT YOUR DEVICE ONLY BE USED UNDER A DATA PLAN WITH UNLIMITED
               OR VERY HIGH DATA USAGE LIMITS, AND COMPANY SHALL NOT BE RESPONSIBLE OR
               LIABLE FOR ANY FEES, COSTS, OR OVERAGE CHARGES ASSOCIATED WITH ANY DATA
               PLAN.
2.7    Location Based Services. You acknowledge and agree that your geo-location information must
       be provided to the Uber Services via a Device in order to provide Transportation Services. You
       acknowledge and agree that: (a) your geo-location information may be obtained by the Uber
       Services while the Driver App is running; and (b) the approximate location of your Vehicle will be
       displayed to the User before and during the provision of Transportation Services to such User. In
       addition, Company and its Affiliates may monitor, track and share with third parties Driver’s
       geo-location information obtained by the Driver App and Device for safety and security
       purposes.
3. You and Your Vehicle
3.1    Your Requirements. You acknowledge and agree that at all times, you shall: (a) hold and
       maintain (i) a valid driver's license with the appropriate level of certification to operate your
       Vehicle, and (ii) all licenses, permits, approvals and authority applicable to you that are
       necessary to provide passenger transportation services to third parties in the Territory; (b)
       possess the appropriate and current level of training, expertise and experience to provide
       Transportation Services in a professional manner with due skill, care and diligence; and (c)
       maintain high standards of professionalism, service and courtesy. You acknowledge and agree
       that you may be subject to certain background and driving record checks from time to time in
       order to qualify to provide, and remain eligible to provide, Transportation Services. You
       acknowledge and agree that Company reserves the right, at any time in Company’s sole
       discretion, to deactivate or otherwise restrict you from accessing or using the Driver App or the
       Uber Services if you fail to meet the requirements set forth in this Agreement.
3.2    Vehicle Requirements. You acknowledge and agree that your Vehicle shall at all times be: (a)
       properly registered and licensed to operate as a passenger transportation vehicle in the
       Territory; (b) owned or leased by you, or otherwise in your lawful possession; (c) suitable for
       performing the passenger transportation services contemplated by this Agreement; and (d)
       maintained in good operating condition, consistent with industry safety and maintenance
       standards for a Vehicle of its kind and any additional standards or requirements in the applicable
       Territory, and in a clean and sanitary condition.
3.3    Documentation. To ensure your compliance with all requirements in Sections 3.1 and 3.2 above,
       you must provide Company with written copies of all such licenses, permits, approvals,
       authority, registrations and certifications prior to your provision of any Transportation Services.
       Thereafter, you must submit to Company written evidence of all such licenses, permits,
       approvals, authority, registrations and certifications as they are renewed. Company shall, upon
       request, be entitled to review such licenses, permits, approvals, authority, registrations and
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 7 of 21




       certifications from time to time, and your failure to provide or maintain any of the foregoing
       shall constitute a material breach of this Agreement. Company reserves the right to
       independently verify your documentation from time to time in any way Company deems
       appropriate in its reasonable discretion.
4. Financial Terms
4.1    Fare Calculation and Your Payment. You are entitled to charge a fare for each instance of
       completed Transportation Services provided to a User that are obtained via the Uber Services
       (“Fare”), where such Fare is calculated based upon a base fare amount plus distance (as
       determined by Company using location-based services enabled through the Device) and/or time
       amounts, as detailed at www.uber.com/cities for the applicable Territory (“Fare Calculation”).
       You acknowledge and agree that the Fare provided under the Fare Calculation is the only
       payment you will receive in connection with the provision of Transportation Services, and that
       neither the Fare nor the Fare Calculation includes any gratuity. You are also entitled to charge
       User for any Tolls, taxes or fees incurred during the provision of Transportation Services, if
       applicable. You: (i) appoint Company as your limited payment collection agent solely for the
       purpose of accepting the Fare, applicable Tolls and, depending on the region and/or if requested
       by you, applicable taxes and fees from the User on your behalf via the payment processing
       functionality facilitated by the Uber Services; and (ii) agree that payment made by User to
       Company (or to an Affiliate of Company acting as an agent of Company) shall be considered the
       same as payment made directly by User to you. In addition, the parties acknowledge and agree
       that as between you and Company, the Fare is a recommended amount, and the primary
       purpose of the pre-arranged Fare is to act as the default amount in the event you do not
       negotiate a different amount. You shall always have the right to: (i) charge a fare that is less
       than the pre-arranged Fare; or (ii) negotiate, at your request, a Fare that is lower than the pre-
       arranged Fare (each of (i) and (ii) herein, a “Negotiated Fare”). Company shall consider all such
       requests from you in good faith. Company agrees to remit, or cause to be remitted, to you on at
       least a weekly basis: (a) the Fare less the applicable Service Fee; (b) the Tolls; and (c) depending
       on the region, certain taxes and ancillary fees. If you have separately agreed that other amounts
       may be deducted from the Fare prior to remittance to you (e.g., vehicle financing payments,
       lease payments, mobile device usage charges, etc.), the order of any such deductions from the
       Fare shall be determined exclusively by Company (as between you and Company).
4.2    Changes to Fare Calculation. Company reserves the right to change the Fare Calculation at any
       time in Company’s discretion based upon local market factors, and Company will provide you
       with notice in the event of changes to the base fare, per mile, and/or per minute amounts that
       would result in a change in the recommended Fare. Continued use of the Uber Services after
       any such change in the Fare Calculation shall constitute your consent to such change.
4.3    Fare Adjustment. Company reserves the right to: (i) adjust the Fare for a particular instance of
       Transportation Services (e.g., you took an inefficient route, you failed to properly end a
       particular instance of Transportation Services in the Driver App, technical error in the Uber
       Services, etc.); or (ii) cancel the Fare for a particular instance of Transportation Services (e.g.,
       User is charged for Transportation Services that were not provided, in the event of a User
       complaint, fraud, etc.). Company’s decision to reduce or cancel the Fare in any such manner
       shall be exercised in a reasonable manner.
4.4    Service Fee. In consideration of Company’s provision of the Driver App and the Uber Services for
       your use and benefit hereunder, you agree to pay Company a service fee on a per
       Transportation Services transaction basis calculated as a percentage of the Fare determined by
      Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 8 of 21




      the Fare Calculation (regardless of any Negotiated Fare), as provided to you via email or
      otherwise made available electronically by Company from time to time for the applicable
      Territory (“Service Fee”). In the event regulations applicable to your Territory require taxes to be
      calculated on the Fare, Company shall calculate the Service Fee based on the Fare net of such
      taxes. Company reserves the right to change the Service Fee at any time in Company’s discretion
      based upon local market factors, and Company will provide you with notice in the event of such
      change. Continued use of the Uber Services after any such change in the Service Fee calculation
      shall constitute your consent to such change.
4.5   Cancellation Charges. You acknowledge and agree that Users may elect to cancel requests for
      Transportation Services that have been accepted by you via the Driver App at any time prior to
      your arrival. In the event that a User cancels an accepted request for Transportation Services,
      Company may charge the User a cancellation fee on your behalf. If charged, this cancellation fee
      shall be deemed the Fare for the cancelled Transportation Services for the purpose of
      remittance to you hereunder (“Cancellation Fee”). The parties acknowledge and agree that as
      between you and Company, this Cancellation Fee is a recommended amount, and the primary
      purpose of such Cancellation Fee is to act as the default amount in the event you do not
      negotiate a different amount. You shall always have the right to: (i) charge a cancellation fee
      that is less than the Cancellation Fee; or (ii) negotiate, at your request, a cancellation fee that is
      lower than the Cancellation Fee (each of (i) and (ii) herein, a “Negotiated Cancellation Fee”). If
      charged, the Cancellation Fee (regardless of any Negotiated Cancellation Fee) shall be deemed
      the Fare for the cancelled Transportation Services for the purpose of remittance to you
      hereunder.
4.6   Receipts. As part of the Uber Services, Company provides you a system for the delivery of
      receipts to Users for Transportation Services rendered. Upon your completion of Transportation
      Services for a User, Company prepares an applicable receipt and issues such receipt to the User
      via email on your behalf. Such receipts are also provided to you via email or the online portal
      available to you through the Uber Services. Receipts include the breakdown of amounts charged
      to the User for Transportation Services and may include specific information about you,
      including your name, contact information and photo, as well as a map of the route you took.
      Any corrections to a User’s receipt for Transportation Services must be submitted to Company in
      writing within three (3) business days after the completion of such Transportation Services.
      Absent such a notice, Company shall not be liable for any mistakes in or corrections to the
      receipt or for recalculation or disbursement of the Fare.
4.7   No Additional Amounts. You acknowledge and agree that, for the mutual benefit of the parties,
      through advertising and marketing, Company and its Affiliates may seek to attract new Users to
      Uber and to increase existing Users’ use of Uber’s mobile application. You acknowledge and
      agree such advertising or marketing does not entitle you to any additional monetary amounts
      beyond the amounts expressly set forth in this Agreement.
4.8   Taxes. You acknowledge and agree that you are required to: (a) complete all tax registration
      obligations and calculate and remit all tax liabilities related to your provision of Transportation
      Services as required by applicable law; and (b) provide Company with all relevant tax
      information. You further acknowledge and agree that you are responsible for taxes on your own
      income arising from the performance of Transportation Services. Notwithstanding anything to
      the contrary in this Agreement, Company may in its reasonable discretion based on applicable
      tax and regulatory considerations, collect and remit taxes resulting from your provision of
      Transportation Services and/or provide any of the relevant tax information you have provided
        Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 9 of 21




       pursuant to the foregoing requirements in this Section 4.8 directly to the applicable
       governmental tax authorities on your behalf or otherwise.
5. Proprietary Rights; License
5.1    License Grant. Subject to the terms and conditions of this Agreement, Company hereby grants
       you a non-exclusive, non-transferable, non-sublicensable, non-assignable license, during the
       term of this Agreement, to use the Uber Services (including the Driver App on a Device) solely
       for the purpose of providing Transportation Services to Users and tracking resulting Fares and
       Fees. All rights not expressly granted to you are reserved by Company, its Affiliates and their
       respective licensors.
5.2    Restrictions. You shall not, and shall not allow any other party to: (a) license, sublicense, sell,
       resell, transfer, assign, distribute or otherwise provide or make available to any other party the
       Uber Services, Driver App or any Company Device in any way; (b) modify or make derivative
       works based upon the Uber Services or Driver App; (c) improperly use the Uber Services or
       Driver App, including creating Internet “links” to any part of the Uber Services or Driver App,
       “framing” or “mirroring” any part of the Uber Services or Driver App on any other websites or
       systems, or “scraping” or otherwise improperly obtaining data from the Uber Services or Driver
       App; (d) reverse engineer, decompile, modify, or disassemble the Uber Services or Driver App,
       except as allowed under applicable law; or (e) send spam or otherwise duplicative or unsolicited
       messages. In addition, you shall not, and shall not allow any other party to, access or use the
       Uber Services or Driver App to: (i) design or develop a competitive or substantially similar
       product or service; (ii) copy or extract any features, functionality, or content thereof; (iii) launch
       or cause to be launched on or in connection with the Uber Services an automated program or
       script, including web spiders, crawlers, robots, indexers, bots, viruses or worms, or any program
       which may make multiple server requests per second, or unduly burden or hinder the operation
       and/or performance of the Uber Services; or (iv) attempt to gain unauthorized access to the
       Uber Services or its related systems or networks.
5.3    Ownership. The Uber Services, Driver App and Company Data, including all intellectual property
       rights therein, and the Company Devices are and shall remain (as between you and Company)
       the property of Company, its Affiliates or their respective licensors. Neither this Agreement nor
       your use of the Uber Services, Driver App or Company Data conveys or grants to you any rights
       in or related to the Uber Services, Driver App or Company Data, except for the limited license
       granted above. Other than as specifically permitted by the Company in connection with the
       Uber Services, you are not permitted to use or reference in any manner Company’s, its
       Affiliates’, or their respective licensors’ company names, logos, products and service names,
       trademarks, service marks, trade dress, copyrights or other indicia of ownership, alone and in
       combination with other letters, punctuation, words, symbols and/or designs (the "UBER Marks
       and Names") for any commercial purposes. You agree that you will not try to register or
       otherwise use and/or claim ownership in any of the UBER Marks and Names, alone or in
       combination with other letters, punctuation, words, symbols and/or designs, or in any
       confusingly similar mark, name or title, for any goods and services.
6. Confidentiality
6.1    Each party acknowledges and agrees that in the performance of this Agreement it may have
       access to or may be exposed to, directly or indirectly, confidential information of the other party
       ("Confidential Information"). Confidential Information includes Company Data, Driver IDs, User
       Information, and the transaction volume, marketing and business plans, business, financial,
      Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 10 of 21




       technical, operational and such other non-public information of each party (whether disclosed
       in writing or verbally) that such party designates as being proprietary or confidential or of which
       the other party should reasonably know that it should be treated as confidential.
6.2    Each party acknowledges and agrees that: (a) all Confidential Information shall remain the
       exclusive property of the disclosing party; (b) it shall not use Confidential Information of the
       other party for any purpose except in furtherance of this Agreement; (c) it shall not disclose
       Confidential Information of the other party to any third party, except to its employees, officers,
       contractors, agents and service providers ("Permitted Persons") as necessary to perform under
       this Agreement, provided Permitted Persons are bound in writing to obligations of
       confidentiality and non-use of Confidential Information no less protective than the terms
       hereof; and (d) it shall return or destroy all Confidential Information of the disclosing party,
       upon the termination of this Agreement or at the request of the other party (subject to
       applicable law and, with respect to Company, its internal record-keeping requirements).
6.3    Notwithstanding the foregoing, Confidential Information shall not include any information to
       the extent it: (a) is or becomes part of the public domain through no act or omission on the part
       of the receiving party; (b) was possessed by the receiving party prior to the date of this
       Agreement without an obligation of confidentiality; (c) is disclosed to the receiving party by a
       third party having no obligation of confidentiality with respect thereto; or (d) is required to be
       disclosed pursuant to law, court order, subpoena or governmental authority, provided the
       receiving party notifies the disclosing party thereof and provides the disclosing party a
       reasonable opportunity to contest or limit such required disclosure.
7. Privacy
7.1    Disclosure of Your Information. Subject to applicable law, Company and its Affiliates may, but
       shall not be required to, provide to you, a User, an insurance company and/or relevant
       authorities and/or regulatory agencies any information (including personal information (e.g.,
       information obtained about you through any background check) and any Company Data) about
       you or any Transportation Services provided hereunder if: (a) there is a complaint, dispute or
       conflict, including an accident, between you and a User; (b) it is necessary to enforce the terms
       of this Agreement; (c) it is required, in Company’s or any Affiliate’s sole discretion, by applicable
       law or regulatory requirements (e.g., Company or its Affiliates receive a subpoena, warrant, or
       other legal process for information); (d) it is necessary, in Company’s or any Affiliate’s sole
       discretion, to (1) protect the safety, rights, property or security of Company or its Affiliates, the
       Uber Services or any third party; (2) to protect the safety of the public for any reason including
       the facilitation of insurance claims related to the Uber Services; (3) to detect, prevent or
       otherwise address fraud, security or technical issues; (4) to prevent or stop activity which
       Company or any of its Affiliates, in their sole discretion, may consider to be, or to pose a risk of
       being, an illegal, unethical, or legally actionable activity); or (e) it is required or necessary, in
       Company’s or any Affiliate’s sole discretion, for insurance or other purposes related to your
       ability to qualify, or remain qualified, to use the Uber Services. You understand that Company
       may retain your personal data for legal, regulatory, safety and other necessary purposes after
       this Agreement is terminated.
7.2    Company and its Affiliates may collect your personal data during the course of your application
       for, and use of, the Uber Services, or may obtain information about you from third parties. Such
       information may be stored, processed, transferred, and accessed by Company and its Affiliates,
       third parties, and service providers for business purposes, including for marketing, lead
       generation, service development and improvement, analytics, industry and market research,
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 11 of 21




       and such other purposes consistent with Company’s and its Affiliates’ legitimate business needs.
       You expressly consent to such use of personal data.
8. Insurance
8.1    You agree to maintain during the term of this Agreement on all Vehicles operated by you under
       this Agreement automobile liability insurance that provides protection against bodily injury and
       property damage to third parties at levels of coverage that satisfy the minimum requirements to
       operate a private passenger vehicle on the public roads within the Territory. This coverage must
       also include any no-fault coverage required by law in the Territory that may not be waived by an
       insured. You agree to provide Company and its Affiliates a copy of the insurance policy, policy
       declarations, proof of insurance identification card and proof of premium payment for the
       insurance policy required in this Section 8.1 upon request. Furthermore, you must provide
       Company with written notice of cancellation of any insurance policy required by Company.
       Company shall have no right to control your selection or maintenance of your policy. You must
       be a named insured or individually rated driver, for which a premium is charged, on the
       insurance policy required in this Section 8.1 at all times.

8.2    You agree to maintain during the term of this Agreement workers’ compensation insurance as
       required by all applicable laws in the Territory. If permitted by applicable law, you may choose
       to insure yourself against industrial injuries by maintaining occupational accident insurance in
       place of workers’ compensation insurance. Furthermore, if permitted by applicable law, you
       may choose not to insure yourself against industrial injuries at all, but do so at your own risk.

8.3    You understand and acknowledge that your personal automobile insurance policy may not
       afford liability, comprehensive, collision, medical payments, personal injury protection,
       uninsured motorist, underinsured motorist, or other coverage for the Transportation Services
       you provide pursuant to this Agreement. If you have any questions or concerns about the scope
       or applicability of your own insurance coverage, it is your responsibility, not that of Company, to
       resolve them with your insurer(s).

8.4    Company may maintain during the term of this Agreement insurance related to your provision
       of Transportation Services as determined by Company in its reasonable discretion or as
       described in a City Addendum, provided that Company and its Affiliates are not required to
       provide you with any specific insurance coverage for any loss to you or your Vehicle. You are
       required to promptly notify Company of any accidents that occur while providing Transportation
       Services and to cooperate and provide all necessary information related thereto.

9. Representations and Warranties; Disclaimers
9.1    By You. You hereby represent and warrant that: (a) you have full power and authority to enter
       into this Agreement and perform your obligations hereunder; (b) you have not entered into, and
       during the term will not enter into, any agreement that would prevent you from complying with
       this Agreement; and (c) you will comply with all applicable laws in your performance of this
       Agreement, including holding and complying with all permits, licenses, registrations and other
       governmental authorizations necessary to provide (i) Transportation Services using the Vehicles
       pursuant to this Agreement, and (ii) passenger transportation services to third parties in the
       Territory generally.
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 12 of 21




9.2     Disclaimer of Warranties. COMPANY AND ITS AFFILIATES PROVIDE, AND YOU ACCEPT, THE UBER
        SERVICES, DRIVER APP AND THE COMPANY DEVICES ON AN "AS IS" AND "AS AVAILABLE" BASIS.
        COMPANY AND ITS AFFILIATES DO NOT REPRESENT, WARRANT OR GUARANTEE THAT YOUR
        ACCESS TO OR USE OF THE UBER SERVICES, DRIVER APP OR THE COMPANY DEVICES: (A) WILL BE
        UNINTERRUPTED OR ERROR FREE; OR (B) WILL RESULT IN ANY REQUESTS FOR TRANSPORTATION
        SERVICES. COMPANY AND ITS AFFILIATES FUNCTION AS AN ON-DEMAND LEAD GENERATION AND
        RELATED SERVICE ONLY AND MAKE NO REPRESENTATIONS, WARRANTIES OR GUARANTEES AS TO
        THE ACTIONS OR INACTIONS OF THE USERS WHO MAY REQUEST OR RECEIVE TRANSPORTATION
        SERVICES FROM YOU, AND COMPANY AND ITS AFFILIATES DO NOT SCREEN OR OTHERWISE
        EVALUATE USERS. BY USING THE UBER SERVICES AND DRIVER APP, YOU ACKNOWLEDGE AND
        AGREE THAT YOU MAY BE INTRODUCED TO A THIRD PARTY THAT MAY POSE HARM OR RISK TO
        YOU OR OTHER THIRD PARTIES. YOU ARE ADVISED TO TAKE REASONABLE PRECAUTIONS WITH
        RESPECT TO INTERACTIONS WITH THIRD PARTIES ENCOUNTERED IN CONNECTION WITH THE USE
        OF THE UBER SERVICES OR DRIVER APP.NOTWITHSTANDING COMPANY’S APPOINTMENT AS THE
        LIMITED PAYMENT COLLECTION AGENT OF YOU FOR THE PURPOSE OF ACCEPTING PAYMENT
        FROM USERS ON YOUR BEHALF AS SET FORTH IN SECTION 4 ABOVE, COMPANY AND ITS
        AFFILIATES EXPRESSLY DISCLAIM ALL LIABILITY FOR ANY ACT OR OMISSION OF YOU, ANY USER OR
        OTHER THIRD PARTY.
9.3     No Service Guarantee. COMPANY AND ITS AFFILIATES DO NOT GUARANTEE THE AVAILABILITY
        OR UPTIME OF THE UBER SERVICES OR DRIVER APP. YOU ACKNOWLEDGE AND AGREE THAT THE
        UBER SERVICES OR DRIVER APP MAY BE UNAVAILABLE AT ANY TIME AND FOR ANY REASON (e.g.,
        DUE TO SCHEDULED MAINTENANCE OR NETWORK FAILURE). FURTHER, THE UBER SERVICES OR
        DRIVER APP MAY BE SUBJECT TO LIMITATIONS, DELAYS, AND OTHER PROBLEMS INHERENT IN
        THE USE OF THE INTERNET AND ELECTRONIC COMMUNICATIONS, AND COMPANY AND ITS
        AFFILIATES ARE NOT RESPONSIBLE FOR ANY DELAYS, DELIVERY FAILURES, OR OTHER DAMAGES,
        LIABILITIES OR LOSSES RESULTING FROM SUCH PROBLEMS.
10. Indemnification. You shall indemnify, defend (at Company’s option) and hold harmless Company
    and its Affiliates and their respective officers, directors, employees, agents, successors and assigns
    from and against any and all liabilities, expenses (including legal fees), damages, penalties, fines,
    social security contributions and taxes arising out of or related to: (a) your breach of your
    representations, warranties or obligations under this Agreement; or (b) a claim by a third party
    (including Users, regulators and governmental authorities) directly or indirectly related to your
    provision of Transportation Services or use of the Uber Services. This indemnification provision shall
    not apply to your breach of any representations regarding your status as an independent contractor.
11. Limits of Liability. COMPANY AND ITS AFFILIATES SHALL NOT BE LIABLE UNDER OR RELATED TO
    THIS AGREEMENT FOR ANY OF THE FOLLOWING, WHETHER BASED ON CONTRACT, TORT OR ANY
    OTHER LEGAL THEORY, EVEN IF A PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
    DAMAGES: (i) ANY INCIDENTAL, PUNITIVE, SPECIAL, EXEMPLARY, CONSEQUENTIAL, OR OTHER
    INDIRECT DAMAGES OF ANY TYPE OR KIND; OR (ii) YOUR OR ANY THIRD PARTY’S PROPERTY
    DAMAGE, OR LOSS OR INACCURACY OF DATA, OR LOSS OF BUSINESS, REVENUE, PROFITS, USE OR
    OTHER ECONOMIC ADVANTAGE. EXCEPT FOR COMPANY’S OBLIGATIONS TO PAY AMOUNTS DUE TO
    YOU PURSUANT TO SECTION 4 ABOVE, BUT SUBJECT TO ANY LIMITATIONS OR OTHER PROVISIONS
    CONTAINED IN THIS AGREEMENT WHICH ARE APPLICABLE THERETO, IN NO EVENT SHALL THE
    LIABILITY OF COMPANY OR ITS AFFILIATES UNDER THIS AGREEMENT EXCEED THE AMOUNT OF
    SERVICE FEES ACTUALLY PAID TO OR DUE TO COMPANY HEREUNDER IN THE SIX (6) MONTH PERIOD
    IMMEDIATELY PRECEDING THE EVENT GIVING RISE TO SUCH CLAIM.
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 13 of 21




12. Term and Termination
12.1    Term. This Agreement shall commence on the date accepted by you and shall continue until
        terminated as set forth herein.
12.2    Termination. Either party may terminate this Agreement: (a) without cause at any time upon
        seven (7) days prior written notice to the other party; (b) immediately, without notice, for the
        other party’s material breach of this Agreement; or (c) immediately, without notice, in the event
        of the insolvency or bankruptcy of the other party, or upon the other party’s filing or submission
        of request for suspension of payment (or similar action or event) against the terminating party.
        In addition, Company may terminate this Agreement or deactivate your Driver ID immediately,
        without notice, with respect to you in the event you no longer qualify, under applicable law or
        the standards and policies of Company and its Affiliates, to provide Transportation Services or to
        operate the Vehicle, or as otherwise set forth in this Agreement.
12.3    Effect of Termination. Upon termination of the Agreement, you shall: (a) promptly return to
        Company all Company Devices; and (b) immediately delete and fully remove the Driver App
        from any of Your Devices. Outstanding payment obligations and Sections 1, 2.3, 2.5.3, 4.7, 4.8,
        5.3, 6, 7, 9, 10, 11, 12.3, 13, 14 and 15 shall survive the termination of this Agreement.
13. Relationship of the Parties

13.1    Except as otherwise expressly provided herein with respect to Company acting as the limited
        payment collection agent solely for the purpose of collecting payment from Users on your
        behalf, the relationship between the parties under this Agreement is solely that of
        independent contracting parties. The parties expressly agree that: (a) this Agreement is not
        an employment agreement, nor does it create an employment relationship, between
        Company and you; and (b) no joint venture, partnership, or agency relationship exists
        between Company and you.

13.2    You have no authority to bind Company or its Affiliates and you undertake not to hold yourself
        out as an employee, agent or authorized representative of Company or its Affiliates. Where, by
        implication of mandatory law or otherwise, you may be deemed an agent or representative of
        Company, you undertake and agree to indemnify, defend (at Company’s option) and hold
        Company and its Affiliates harmless from and against any claims by any person or entity based
        on such implied agency or representative relationship.

14. Miscellaneous Terms
14.1    Modification. In the event Company modifies the terms and conditions of this Agreement at
        any time, such modifications shall be binding on you only upon your acceptance of the modified
        Agreement. Company reserves the right to modify any information referenced at hyperlinks
        from this Agreement from time to time. You hereby acknowledge and agree that, by using the
        Uber Services, or downloading, installing or using the Driver App, you are bound by any future
        amendments and additions to information referenced at hyperlinks herein, or documents
        incorporated herein, including with respect to Fare Calculations. Continued use of the Uber
        Services or Driver App after any such changes shall constitute your consent to such changes.
        Unless changes are made to the arbitration provisions herein, you acknowledge and agree that
        modification of this Agreement does not create a renewed opportunity to opt out of arbitration.
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 14 of 21




14.2   Supplemental Terms. Supplemental terms may apply to your use of the Uber Services, such as
       use policies or terms related to certain features and functionality, which may be modified from
       time to time (“Supplemental Terms”). You may be presented with certain Supplemental Terms
       from time to time. Supplemental Terms are in addition to, and shall be deemed a part of, this
       Agreement. Supplemental Terms shall prevail over this Agreement in the event of a conflict.
14.3   Severability. If any provision of this Agreement is or becomes invalid or non-binding, the parties
       shall remain bound by all other provisions hereof. In that event, the parties shall replace the
       invalid or non-binding provision with provisions that are valid and binding and that have, to the
       greatest extent possible, a similar effect as the invalid or non-binding provision, given the
       contents and purpose of this Agreement.
14.4   Assignment. Neither party shall assign or transfer this Agreement or any of its rights or
       obligations hereunder, in whole or in part, without the prior written consent of the other party;
       provided that Company may assign or transfer this Agreement or any or all of its rights or
       obligations under this Agreement from time to time without consent: (a) to an Affiliate; or (b)
       to an acquirer of all or substantially all of Company’s business, equity or assets.
14.5   Entire Agreement. This Agreement, including all Supplemental Terms, constitutes the entire
       agreement and understanding of the parties with respect to its subject matter and replaces and
       supersedes all prior or contemporaneous agreements or undertakings regarding such subject
       matter. In this Agreement, the words “including” and “include” mean “including, but not limited
       to.” The recitals form a part of this Agreement.
14.6   No Third Party Beneficiaries. There are no third party beneficiaries to this Agreement, except as
       expressly set forth in the Arbitration Provision in Section 15.3. Nothing contained in this
       Agreement is intended to or shall be interpreted to create any third-party beneficiary claims.
14.7   Notices. Any notice delivered by Company to you under this Agreement will be delivered by
       email to the email address associated with your account or by posting on the portal available to
       you on the Uber Services. Any notice delivered by you to Company under this Agreement will be
       delivered by contacting Company at http://partners.uber.com in the “Contact Us” section.
       Additional Territory-specific notices may be required from time to time.
15. Governing Law; Arbitration
15.1   The choice of law provisions contained in this Section 15.1 do not apply to the arbitration clause
       contained in Section 15.3, such arbitration clause being governed by the Federal Arbitration Act.
       Accordingly, and except as otherwise stated in Section 15.3, the interpretation of this
       Agreement shall be governed by California law, without regard to the choice or conflicts of law
       provisions of any jurisdiction. Any disputes, actions, claims or causes of action arising out of or
       in connection with this Agreement or the Uber Services that are not subject to the arbitration
       clause contained in Section 15.3 shall be subject to the exclusive jurisdiction of the state and
       federal courts located in the City and County of San Francisco, California. However, neither the
       choice of law provision regarding the interpretation of this Agreement nor the forum selection
       provision is intended to create any other substantive right to non-Californians to assert claims
       under California law whether that be by statute, common law, or otherwise. These provisions,
       and except as otherwise provided in Section 15.3, are only intended to specify the use of
       California law to interpret this Agreement and the forum for disputes asserting a breach of this
       Agreement, and these provisions shall not be interpreted as generally extending California law
       to you if you do not otherwise reside or provide services in California. The foregoing choice of
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 15 of 21




       law and forum selection provisions do not apply to the arbitration clause in Section 15.3 or to
       any arbitrable disputes as defined therein. Instead, as described in Section 15.3, the Federal
       Arbitration Act shall apply to any such disputes. The failure of Company to enforce any right or
       provision in this Agreement shall not constitute a waiver of such right or provision unless
       acknowledged and agreed to by Uber in writing.

15.2   Other than disputes regarding the intellectual property rights of the parties and other claims
       identified in Section 15.3.ii, any disputes, actions, claims or causes of action arising out of or in
       connection with this Agreement or the Uber Services shall be subject to arbitration pursuant to
       Section 15.3.


15.3   Arbitration Provision

       Important Note Regarding this Arbitration Provision:

           ●   Except as provided below, arbitration does not limit or affect the legal claims you may
               bring against the Company. Agreeing to arbitration only affects where any such claims
               may be brought and how they will be resolved.

           ●   Arbitration is a process of private dispute resolution that does not involve the civil
               courts, a civil judge, or a jury. Instead, the parties’ dispute is decided by a private
               arbitrator selected by the parties using the process set forth herein. Other arbitration
               rules and procedures are also set forth herein.

           ●   Unless the law requires otherwise, as determined by the Arbitrator based upon the
               circumstances presented, you will be required to split the cost of any arbitration with
               the Company.

           ● IMPORTANT: This Arbitration Provision will require you to resolve
             any claim that you may have against the Company or Uber on an
             individual basis, except as provided below, pursuant to the terms of
             the Agreement unless you choose to opt out of the Arbitration
             Provision. Except as provided below, this provision will preclude you
             from bringing any class, collective, or representative action (other
             than actions under the Private Attorneys General Act of 2004
             (“PAGA”), California Labor Code § 2698 et seq. (“PAGA”)) against the
             Company or Uber, and also precludes you from participating in or
             recovering relief under any current or future class, collective, or
             representative (non-PAGA) action brought against the Company or
             Uber by someone else.

                   o Cases have been filed against Company or Uber and may be
                     filed in the future involving claims by users of the Service,
     Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 16 of 21




                 including by drivers. You should assume that there are now,
                 and may be in the future, lawsuits against the Company or
                 Uber alleging class, collective, and/or representative (non-
                 PAGA) claims on your behalf, including but not limited to
                 claims for tips, reimbursement of expenses, and employment
                 status. Such claims, if successful, could result in some
                 monetary recovery to you. (THESE CASES NOW INCLUDE, FOR
                 EXAMPLE, YUCESOY ET AL. V. UBER TECHNOLOGIES, INC., ET
                 AL., CASE NO. 3:15-CV-00262(NORTHERN DISTRICT OF
                 CALIFORNIA); IN RE UBER FCRA LITIGATION, CASE NO. 14-CV-
                 05200-EMC (NORTHERN DISTRICT OF CALIFORNIA); AND
                 O’CONNOR V. UBER TECHNOLOGIES, INC., ET AL., CASE NO.
                 CV 13-03826-EMC (NORTHERN DISTRICT OF CALIFORNIA).The
                 contact information for plaintiffs’ counsel in the O’Connor
                 matter is as follows: Shannon Liss-Riordan, Lichten & Liss-
                 Riordan, P.C., 100 Cambridge Street, 20th Floor, Boston, MA
                 02114, Telephone: (617) 994-5800, Fax: (617) 994-5801,
                 email: sliss@llrlaw.com.)

              o The mere existence of such class, collective, and/or
                representative lawsuits, however, does not mean that such
                lawsuits will ultimately succeed. But if you do agree to
                arbitration with the Company, you are agreeing in advance,
                except as otherwise provided, that you will not participate in
                and, therefore, will not seek to recover monetary or other
                relief under any such class, collective, and/or representative
                (non-PAGA) lawsuit, except as provided below.

              o However, as discussed above and except as provided below,
                if you agree to arbitration, you will not be precluded from
                bringing your claims against the Company or Uber in an
                individual arbitration proceeding. If successful on such claims,
                you could be awarded money or other relief by an arbitrator
                (subject to splitting the cost of arbitration as mentioned
                above).

WHETHER TO AGREE TO ARBITRATION IS AN IMPORTANT BUSINESS DECISION.
IT IS YOUR DECISION TO MAKE, AND YOU SHOULD NOT RELY SOLELY UPON THE
        Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 17 of 21




INFORMATION PROVIDED IN THIS AGREEMENT AS IT IS NOT INTENDED TO
CONTAIN A COMPLETE EXPLANATION OF THE CONSEQUENCES OF
ARBITRATION. YOU SHOULD TAKE REASONABLE STEPS TO CONDUCT FURTHER
RESEARCH AND TO CONSULT WITH OTHERS — INCLUDING BUT NOT LIMITED TO
AN ATTORNEY — REGARDING THE CONSEQUENCES OF YOUR DECISION, JUST AS
YOU WOULD WHEN MAKING ANY OTHER IMPORTANT BUSINESS OR LIFE
DECISION.
        i.      How This Arbitration Provision Applies.

This Arbitration Provision is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. (the “FAA”) and
evidences a transaction involving interstate commerce. This Arbitration Provision applies to any dispute
arising out of or related to this Agreement or termination of the Agreement and survives after the
Agreement terminates. Nothing contained in this Arbitration Provision shall be construed to prevent or
excuse you from utilizing any informal procedure for resolution of complaints established in this
Agreement (if any), and this Arbitration Provision is not intended to be a substitute for the utilization of
such procedures.
Except as it otherwise provides, this Arbitration Provision is intended to apply to the resolution of
disputes that otherwise would be resolved in a court of law or before any forum other than
arbitration, with the exception of proceedings that must be exhausted under applicable law before
pursuing a claim in a court of law or in any forum other than arbitration. Except as it otherwise
provides, this Arbitration Provision requires all such disputes to be resolved only by an arbitrator
through final and binding arbitration on an individual basis only and not by way of court or jury trial,
or by way of class, collective, or representative action.
Except as provided in Section 15.3(v), below, regarding the Class Action Waiver, such disputes include
without limitation disputes arising out of or relating to interpretation or application of this Arbitration
Provision, including the enforceability, revocability or validity of the Arbitration Provision or any portion
of the Arbitration Provision. All such matters shall be decided by an Arbitrator and not by a court or
judge. However, as set forth below, the preceding sentences shall not apply to disputes relating to the
interpretation or application of the Class Action Waiver or PAGA Waiver below, including their
enforceability, revocability or validity.
Except as it otherwise provides, this Arbitration Provision also applies, without limitation, to all disputes
between You and the Company or Uber, as well as all disputes between You and the Company’s or
Uber’s fiduciaries, administrators, affiliates, subsidiaries, parents, and all successors and assigns of any
of them, including but not limited to any disputes arising out of or related to this Agreement and
disputes arising out of or related to your relationship with the Company, including termination of the
relationship. This Arbitration Provision also applies, without limitation, to disputes regarding any city,
county, state or federal wage-hour law, trade secrets, unfair competition, compensation, breaks and
rest periods, expense reimbursement, termination, harassment and claims arising under the Uniform
Trade Secrets Act, Civil Rights Act of 1964, Americans With Disabilities Act, Age Discrimination in
Employment Act, Family Medical Leave Act, Fair Labor Standards Act, Employee Retirement Income
Security Act (except for individual claims for employee benefits under any benefit plan sponsored by the
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 18 of 21




Company and covered by the Employee Retirement Income Security Act of 1974 or funded by
insurance), Genetic Information Non-Discrimination Act, and state statutes, if any, addressing the same
or similar subject matters, and all other similar federal and state statutory and common law claims.
This Agreement is intended to require arbitration of every claim or dispute that lawfully can be
arbitrated, except for those claims and disputes which by the terms of this Agreement are expressly
excluded from the Arbitration Provision.
Uber Technologies, Inc. is an intended, third party beneficiary of this Agreement.

          ii.   Limitations On How This Agreement Applies.

The disputes and claims set forth below shall not be subject to arbitration and the requirement to
arbitrate set forth in this Arbitration Provision shall not apply:
A representative action brought on behalf of others under the Private Attorneys General Act of 2004
(“PAGA”), California Labor Code § 2698 et seq., to the extent waiver of such a claim is deemed
unenforceable by a court of competent jurisdiction;
Claims for workers compensation, state disability insurance and unemployment insurance benefits;
Regardless of any other terms of this Agreement, nothing prevents you from making a report to or filing
a claim or charge with the Equal Employment Opportunity Commission, U.S. Department of Labor,
Securities Exchange Commission, National Labor Relations Board, or Office of Federal Contract
Compliance Programs, and nothing in this Agreement or Arbitration Provision prevents the investigation
by a government agency of any report, claim or charge otherwise covered by this Arbitration Provision.
Nothing in this Arbitration Provision shall be deemed to preclude or excuse a party from bringing an
administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative
remedies before making a claim in arbitration;
Disputes that may not be subject to a predispute arbitration agreement pursuant to applicable Federal
law or Executive Order are excluded from the coverage of this Arbitration Provision;
Disputes regarding your, the Company’s, or Uber’s intellectual property rights;
This Arbitration Provision shall not be construed to require the arbitration of any claims against a
contractor that may not be the subject of a mandatory arbitration agreement as provided by section
8116 of the Department of Defense ("DoD") Appropriations Act for Fiscal Year 2010 (Pub. L. 111-118),
section 8102 of the Department of Defense ("DoD") Appropriations Act for Fiscal Year 2011 (Pub. L. 112-
10, Division A), and their implementing regulations, or any successor DoD appropriations act addressing
the arbitrability of claims.
         iii.   Selecting The Arbitrator and Location of the Arbitration.

The Arbitrator shall be selected by mutual agreement of the Company and you. Unless you and the
Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice in the
location where the arbitration proceeding will be conducted or a retired federal or state judicial officer
who presided in the jurisdiction where the arbitration will be conducted. If the Parties cannot agree on
an Arbitrator, then an arbitrator will be selected using the alternate strike method from a list of five (5)
neutral arbitrators provided by JAMS (Judicial Arbitration & Mediation Services). You will have the
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 19 of 21




option of making the first strike. If a JAMS arbitrator is used, then the JAMS Streamlined Arbitration
Rules & Procedures rules will apply; however, if there is a conflict between the JAMS Rules and this
Agreement, this Agreement shall govern. Those rules are available here:
http://www.jamsadr.com/rules-streamlined-arbitration/
The location of the arbitration proceeding shall be no more than 45 miles from the place where you last
provided transportation services under this Agreement, unless each party to the arbitration agrees in
writing otherwise.

          iv.   Starting The Arbitration.

All claims in arbitration are subject to the same statutes of limitation that would apply in court. The
party bringing the claim must demand arbitration in writing and deliver the written demand by hand or
first class mail to the other party within the applicable statute of limitations period. The demand for
arbitration shall include identification of the Parties, a statement of the legal and factual basis of the
claim(s), and a specification of the remedy sought. Any demand for arbitration made to the Company or
Uber shall be provided to Legal, Rasier, LLC, 1455 Market St., Ste. 400, San Francisco CA 94103. The
arbitrator shall resolve all disputes regarding the timeliness or propriety of the demand for arbitration.
A party may apply to a court of competent jurisdiction for temporary or preliminary injunctive relief in
connection with an arbitrable controversy, but only upon the ground that the award to which that party
may be entitled may be rendered ineffectual without such provisional relief.
          v.    How Arbitration Proceedings Are Conducted.

In arbitration, the Parties will have the right to conduct adequate civil discovery, bring dispositive
motions, and present witnesses and evidence as needed to present their cases and defenses, and any
disputes in this regard shall be resolved by the Arbitrator.
You and the Company agree to resolve any dispute that is in arbitration on an individual basis only,
and not on a class, collective action, or representative basis (“Class Action Waiver”). The Arbitrator
shall have no authority to consider or resolve any claim or issue any relief on any basis other than an
individual basis. The Arbitrator shall have no authority to consider or resolve any claim or issue any
relief on a class, collective, or representative basis. Notwithstanding any other provision of this
Agreement, the Arbitration Provision or the JAMS Streamlined Arbitration Rules & Procedures, disputes
regarding the enforceability, revocability or validity of the Class Action Waiver may be resolved only by a
civil court of competent jurisdiction and not by an arbitrator. In any case in which (1) the dispute is filed
as a class, collective, or representative action and (2) there is a final judicial determination that all or
part of the Class Action Waiver unenforceable, the class, collective, and/or representative action to that
extent must be litigated in a civil court of competent jurisdiction, but the portion of the Class Action
Waiver that is enforceable shall be enforced in arbitration.
While the Company will not take any retaliatory action in response to any exercise of rights you may
have under Section 7 of the National Labor Relations Act, if any, the Company shall not be precluded
from moving to enforce its rights under the FAA to compel arbitration on the terms and conditions set
forth in this Agreement.
Private Attorneys General Act.
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 20 of 21




Notwithstanding any other provision of this Agreement or the Arbitration Provision, to the extent
permitted by law, (1) You and Company agree not to bring a representative action on behalf of others
under the Private Attorneys General Act of 2004 (“PAGA”), California Labor Code § 2698 et seq., in any
court or in arbitration, and (2) for any claim brought on a private attorney general basis—i.e., where
you are seeking to pursue a claim on behalf of a government entity—both you and Company agree that
any such dispute shall be resolved in arbitration on an individual basis only (i.e., to resolve whether you
have personally been aggrieved or subject to any violations of law), and that such an action may not be
used to resolve the claims or rights of other individuals in a single or collective proceeding (i.e., to
resolve whether other individuals have been aggrieved or subject to any violations of law) (“PAGA
Waiver”). Notwithstanding any other provision of this Agreement or the Arbitration Provision, the
validity of the PAGA Waiver may be resolved only by a civil court of competent jurisdiction and not by an
arbitrator. If any provision of the PAGA Waiver is found to be unenforceable or unlawful for any reason,
(1) the unenforceable provision shall be severed from this Agreement; (2) severance of the
unenforceable provision shall have no impact whatsoever on the Arbitration Provision or the Parties’
attempt to arbitrate any remaining claims on an individual basis pursuant to the Arbitration Provision;
and (3) any representative action brought under PAGA on behalf of others must be litigated in a civil
court of competent jurisdiction and not in arbitration. To the extent that there are any claims to be
litigated in a civil court of competent jurisdiction because a civil court of competent jurisdiction
determines that the PAGA Waiver is unenforceable with respect to those claims, the Parties agree that
litigation of those claims shall be stayed pending the outcome of any individual claims in arbitration.

         vi.    Paying For The Arbitration.

Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
may later be entitled under applicable law (i.e., a party prevails on a claim that provides for the award of
reasonable attorney fees to the prevailing party). In all cases where required by law, the Company will
pay the Arbitrator's and arbitration fees. If under applicable law the Company is not required to pay all
of the Arbitrator’s and/or arbitration fees, such fee(s) will be apportioned equally between the Parties
or as otherwise required by applicable law. However, you will not be required to bear any type of fee or
expense that you would not be required to bear if you had filed the action in a court of law. Any
disputes in that regard will be resolved by the Arbitrator as soon as practicable after the Arbitrator is
selected, and Company shall bear all of the Arbitrator’s and arbitration fees until such time as the
Arbitrator resolves any such dispute.
         vii.   The Arbitration Hearing And Award.

The Parties will arbitrate their dispute before the Arbitrator, who shall confer with the Parties regarding
the conduct of the hearing and resolve any disputes the Parties may have in that regard. Within 30 days
of the close of the arbitration hearing, or within a longer period of time as agreed to by the Parties or as
ordered by the Arbitrator, any party will have the right to prepare, serve on the other party and file with
the Arbitrator a brief. The Arbitrator may award any party any remedy to which that party is entitled
under applicable law, but such remedies shall be limited to those that would be available to a party in
his or her individual capacity in a court of law for the claims presented to and decided by the Arbitrator,
and no remedies that otherwise would be available to an individual in a court of law will be forfeited by
virtue of this Arbitration Provision. The Arbitrator will issue a decision or award in writing, stating the
essential findings of fact and conclusions of law. A court of competent jurisdiction shall have the
       Case 1:20-cv-09224-VEC Document 15-3 Filed 12/11/20 Page 21 of 21




authority to enter a judgment upon the award made pursuant to the arbitration. The Arbitrator shall
not have the power to commit errors of law or legal reasoning, and the award may be vacated or
corrected on appeal to a court of competent jurisdiction for any such error.
        viii.   Your Right To Opt Out Of Arbitration.

Arbitration is not a mandatory condition of your contractual relationship with the Company. If you do
not want to be subject to this Arbitration Provision, you may opt out of this Arbitration Provision by
notifying the Company in writing of your desire to opt out of this Arbitration Provision, either by (1)
sending, within 30 days of the date this Agreement is executed by you, electronic mail to
optout@uber.com, stating your name and intent to opt out of the Arbitration Provision or (2) by
sending a letter by U.S. Mail, or by any nationally recognized delivery service (e.g, UPS, Federal
Express, etc.), or by hand delivery to:
        Legal
        Rasier, LLC
        1455 Market St., Ste. 400
        San Francisco CA 94103

In order to be effective, the letter under option (2) must clearly indicate your intent to opt out of this
Arbitration Provision, and must be dated and signed. The envelope containing the signed letter must
be received (if delivered by hand) or post-marked within 30 days of the date this Agreement is
executed by you. Your writing opting out of this Arbitration Provision, whether sent by (1) or (2), will
be filed with a copy of this Agreement and maintained by the Company. Should you not opt out of
this Arbitration Provision within the 30-day period, you and the Company shall be bound by the terms
of this Arbitration Provision. You have the right to consult with counsel of your choice concerning this
Arbitration Provision. You understand that you will not be subject to retaliation if you exercise your
right to assert claims or opt-out of coverage under this Arbitration Provision.
 ix.    Full and Complete Agreement Related to Formal Resolution of Disputes; Enforcement Of
        This Agreement.

This Arbitration Provision is the full and complete agreement relating to the formal resolution of
disputes arising out of this Agreement. Except as stated in subsection v, above, in the event any portion
of this Arbitration Provision is deemed unenforceable, the remainder of this Arbitration Provision will be
enforceable.


By clicking “I accept”, you expressly acknowledge that you have read, understood, and taken steps to
thoughtfully consider the consequences of this Agreement, that you agree to be bound by the terms and
conditions of the Agreement, and that you are legally competent to enter into this Agreement with
Company.
